 Case 2:11-cv-00002-JRG Document 18 Filed 02/13/12 Page 1 of 1 PageID #: 100



                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


APPLICA CONSUMER PRODUCTS, INC.,

                             Plaintiff,
                                                     Civil Action No. 2:11-cv-00002
vs.
                                                     JURY TRIAL REQUESTED
LUCKY LITTER, LLC,

                             Defendant.



                  ORDER GRANTING JOINT MOTION TO DISMISS

       The Court has considered the Joint Motion to Dismiss, and has decided to grant the
     .
motion. It is, therefore, ORDERED that:

       1.     The entire action hereby is dismissed with prejudice;

       2.     Each party shall bear its own costs of suit and attorneys' fees; and

       3.     The Court shall retain jurisdiction over the parties for purposes of enforcing the

Confidential Settlement Agreement dated January 30, 2012, incorporated herein by this

reference.

        SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 13th day of February, 2012.




                                                          ____________________________________
                                                          RODNEY GILSTRAP
                                                          UNITED STATES DISTRICT JUDGE
